        Case 1:11-cv-00161-REB Document 186 Filed 01/09/19 Page 1 of 2



       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
                U.S. MAGISTRATE JUDGE MINUTE ENTRY

(X) EVIDENTIARY HEARING

Judge: RONALD E. BUSH                      Deputy Clerk/ESR: Lynette C. Case
Date: JANUARY 9, 2019                      CV. 11-161-S-REB
(Boise, Idaho)                              9am-12:10



IDAHO CONSERVATION LEAGUE, et al,               Bryan Hurlbutt

                        Plaintiffs,             Attorney for Plaintiffs,

U.S.A., Intervenor Plaintiff,
vs.

ATLANTA GOLD CORP.,                                Michelle Points,
                     Defendant.                 Attorney for Defendant.


Court reviewed the record; parties ready to proceed with hearing.


Atlanta Gold Witness:
1-David Russell


Exhibits:
Atlanta Gold Exhibit Admitted: Def. #1 (flow chart).
ICL Exhibit Admitted: Pltff. A (chart).


Closing Argument by both parties.


(X) Court deemed this matter Under Advisement.
Case 1:11-cv-00161-REB Document 186 Filed 01/09/19 Page 2 of 2
